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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                            )
                                                     )               8:11CR106
                       Plaintiff,                    )
                                                     )
       vs.                                           )                ORDER
                                                     )
SARAH PENNEY,                                        )
                                                     )
                       Defendant.                    )



       This matter is before the court on the motion to continue by defendant Sarah Penney

(Penney) (Filing No. 102). Penney seeks a continuance of the trial until April 2012. Penney's

counsel represents that government's counsel has no objection to the motion Upon consideration,

the motion will be granted.



       IT IS ORDERED:

       1.      Penney's motion to continue trial (Filing No. 102) is granted.

       2.      Trial of this matter is re-scheduled for April 2, 2012, before Judge Joseph F.

Bataillon and a jury. The ends of justice have been served by granting such motion and outweigh

the interests of the public and the defendant in a speedy trial. The additional time arising as a

result of the granting of the motion, i.e., the time between December 12, 2011, and April 2, 2012,

shall be deemed excludable time in any computation of time under the requirement of the Speedy

Trial Act for the reason that defendant's counsel requires additional time to adequately prepare the

case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §

3161(h)(7)(A) & (B).

       DATED this 12th day of December, 2011.

                                                     BY THE COURT:


                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
